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Magistrate Judge David Christel

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UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF WASHINGTON

UNITED STATES OF AMERICA,

Plaintiff

Vv.
JOSHUA HENRY PUNT
Defendant.

AT TACOMA

CASENO. (717 17- 5243
COMPLAINT for VIOLATIONS

18 U.S.C. § 2251(a), (e);
18 U.S.C. § 2252(a)(2);
18 U.S.C. § 2252(a)(4);
18 U.S.C. § 2252(b)(2);
18 U.S.C. § 2252A(a)(6);

BEFORE, The Honorable DAVID CHRISTEL, United States Magistrate Judge,
United States Courthouse, Tacoma, Washington.

The undersigned complainant being duly sworn states:

COUNT 1

(Production of Child Pornography)

From on or about December 3, 2018, until on or about December 23, 2018, in

Clark County, within the Western District of Washington, and elsewhere, JOSHUA

HENRY PUNT, knowingly employed, used, persuaded, induced, enticed, and coerced

MVI1, a minor, to engage in sexually explicit conduct, and attempted to do so, for the

COMPLAINT?/- 1
PUNT USAO#2019R00575

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purpose of producing a visual depiction of such conduct and transmitting any live visual
depiction of such conduct, knowing or having reason to know that such visual depiction
would be transported and transmitted using any means or facility of interstate and foreign
commerce, such visual depiction was transported and transmitted using any means or
facility of interstate and foreign commerce and in and affecting interstate and foreign
commerce, and such visual depiction was produced using materials that had been mailed,
shipped, and transported in interstate and foreign commerce.

All in violation of Title 18, United States Code, Section 2251(a), (e).

COUNT 2
(Enticement of a Minor)

From on or about December 3, 2018, until on or about December 23, 2018, in
Clark County, within the Western District of Washington, and elsewhere, JOSHUA
HENRY PUNT, used a facility and means of interstate and foreign commerce, including
the internet, to knowingly persuade, induce, entice, and coerce MV1, an individual who
had not yet attained the age of 18 years, to engage in sexual activity for which any person
can be charged with a criminal offense—to include, the production of child pornography
as defined in 18 U.S.C. § 2256(8)—and attempted to do so.

All in violation of Title 18, United States Code, Sections 2422(b) and 2427.

COUNT 3
(Production of Child Pornography)

From on or about March 11, 2019, until on or about March 17, 2019, in Clark
County, within the Western District of Washington, and elsewhere, JOSHUA HENRY
PUNT, knowingly employed, used, persuaded, induced, enticed, and coerced MV2, a
minor, to engage in sexually explicit conduct, and attempted to do so, for the purpose of
producing a visual depiction of such conduct and transmitting any live visual depiction of
such conduct, knowing or having reason to know that such visual depiction would be
transported and transmitted using any means or facility of interstate and foreign

commerce, such visual depiction was transported and transmitted using any means or

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facility of interstate and foreign commerce and in and affecting interstate and foreign
commerce, and such visual depiction was produced using materials that had been mailed,
shipped, and transported in interstate and foreign commerce.

All in violation of Title 18, United States Code, Section 2251(a), (e).

COUNT 4
(Enticement of a Minor)

From on or about March 11, 2019, until on or about March 17, 2019, in Clark.
County, within the Western District of Washington, and elsewhere, JOSHUA HENRY
PUNT, used a facility and means of interstate and foreign commerce, including the
internet, to knowingly persuade, induce, entice, and coerce MV2, an individual who had
not yet attained the age of 18 years, to engage in sexual activity for which any person can
be charged with a criminal offense—to include, the production of child pornography as
defined in 18 U.S.C. § 2256(8)—and attempted to do so.

All in violation of Title 18, United States Code, Sections 2422(b) and 2427.

COUNT 5
(Enticement of a Minor)

From on or about April 17, 2019, until on or about May 18, 2019, in Clark
County, within the Western District of Washington, and elsewhere, JOSHUA HENRY
PUNT, used a facility and means of interstate and foreign commerce, including the
internet, to knowingly persuade, induce, entice, and coerce MV3, an individual who had
not yet attained the age of 18 years, to engage in sexual activity for which any person can
be charged with a criminal offense—to include, the production of child pornography as
defined in 18 U.S.C. § 2256(8)—and attempted to do so.

All in violation of Title 18, United States Code, Sections 2422(b) and 2427.

COUNT 6
(Production of Child Pornography)
From on or about November 6, 2018, until on or about December 24, 2018, in

Clark County, within the Western District of Washington, and elsewhere, JOSHUA

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HENRY PUNT, knowingly employed, used, persuaded, induced, enticed, and coerced
MV4, a minor, to engage in sexually explicit conduct, and attempted to do so, for the
purpose of producing a visual depiction of such conduct and transmitting any live visual
depiction of such conduct, knowing or having reason to know that such visual depiction
would be transported and transmitted using any means or facility of interstate and foreign
commerce, such visual depiction was transported and transmitted using any means or
facility of interstate and foreign commerce and in and affecting interstate and foreign
commerce, and such visual depiction was produced using materials that had been mailed,
shipped, and transported in interstate and foreign commerce.

All in violation of Title 18, United States Code, Section 2251(a), (e).

COUNT 7
(Enticement of a Minor)

From on or about November 6, 2018, until on or about December 24, 2018, in
Clark County, within the Western District of Washington, and elsewhere, JOSHUA
HENRY PUNT, used a facility and means of interstate and foreign commerce, including
the internet, to knowingly persuade, induce, entice, and coerce MV4, an individual who
had not yet attained the age of 18 years, to engage in sexual activity for which any person
can be charged with a criminal offense—to include, the production of child pornography
as defined in 18 U.S.C. § 2256(8)}—and attempted to do so.

All in violation of Title 18, United States Code, Sections 2422(b) and 2427.

COUNT 8
(Production of Child Pornography)

From on or about December 26, 2018 until on or about January 15, 2019, in Clark
County, within the Western District of Washington, and elsewhere, JOSHUA HENRY
PUNT, knowingly employed, used, persuaded, induced, enticed, and coerced MV5, a
minor, to engage in sexually explicit conduct, and attempted to do so, for the purpose of
producing a visual depiction of such conduct and transmitting any live visual depiction of

such conduct, knowing or having reason to know that such visual depiction would be

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transported and transmitted using any means or facility of interstate and foreign
commerce, such visual depiction was transported and transmitted using any means or
facility of interstate and foreign commerce and in and affecting interstate and foreign
commerce, and such visual depiction was produced using materials that had been mailed,
shipped, and transported in interstate and foreign commerce.

All in violation of Title 18, United States Code, Section 2251(a), (e).

COUNT 9
(Enticement of a Minor)

From on or about December 26, 2018, until on or about January 15, 2019, in Clark
County, within the Western District of Washington, and elsewhere, JOSHUA HENRY
PUNT, used a facility and means of interstate and foreign commerce, including the
internet, to knowingly persuade, induce, entice, and coerce MVS, an individual who had
not yet attained the age of 18 years, to engage in sexual activity for which any person can
be charged with a criminal offense—to include, the production of child pornography as
defined in 18 U.S.C. § 2256(8)—and attempted to do so.

All in violation of Title 18, United States Code, Sections 2422(b) and 2427.

I, David M. Jensen, being first duly sworn on oath, depose and say:
AFFIANT BACKGROUND AND EXPERIENCE

1. I am a Task Force Officer (TFO) with the United States Department of
Homeland Security, Homeland Security Investigations (HSI), in Portland, Oregon. HSI is
responsible for enforcing the customs laws, immigration laws, and federal criminal
statutes of the United States. I am a law enforcement officer of the United States within
the meaning of Section 2510(7) of Title 18, United States Code, and I am authorized by
law to conduct investigations and to make arrests for felony offenses. I am also a
Detective with the Vancouver Police Department (VPD), where I am assigned to the
Digital Evidence Cybercrime Unit (DECU).

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2. I have been a law enforcement officer for over 12 years, and was
commissioned in 2019 as a TFO for HSI. I have been involved in investigations of child
exploitation and pornography for the past four years. My duties include the enforcement
of federal criminal statutes prohibiting the sexual exploitation of children, including Title
18, United States Code, Sections 2251 through 2259, the Sexual Exploitation of Children
Act (SECA), and Title 18, United States Code, Section 2423(a), which prohibits the
interstate transportation of a minor for the purpose of engaging in unlawful sexual
conduct. I have participated in the execution of search warrants involving child
exploitation and/or child pornography offenses, and the search and seizure of computers
and other digital devices. My agency is an affiliate member of the Seattle Internet Crimes
Against Children (ICAC) Task Force in the Western District of Washington. I work with
other federal, state, and local law enforcement personnel in the investigation and
prosecution of crimes involving the sexual exploitation of children.

PURPOSE OF THE AFFIDAVIT

3. The information contained in this Complaint is based on my own personal
knowledge, information provided by other law enforcement officers familiar with the
investigation, reports and other records associated with this investigation, statements of
witnesses with personal knowledge, and my training and experience.

4. Because this Complaint is intended to establish that there is probable cause
to believe that the defendant named above committed the offense(s) charged, I have listed
only those facts that I believe are necessary to establish probable cause. I do not purport
to list each and every fact known to me or other law enforcement officers as part of this
investigation.

5. As further detailed below, based on my investigation and the investigation
of other law enforcement officers, I submit there is probable cause to believe that
JOSHUA HENRY PUNT has committed the violation(s) of Production of Child

Pornography (four counts) and Enticement (five counts).

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This complaint is being presented electronically pursuant to Local Criminal Rule
CrR 41(d)(3).
SUMMARY OF THE INVESTIGATION

MV1i-NEW YORK

6. On February 13, 2019, my supervisor, Sgt. Joe Graaff of the VPD-HSI
DECU directed me to coordinate with FBI] SA Benjamin Long regarding a case
originating with the FBI in Albany, New York. The information provided by SA Long
indicated the suspect, later identified as PUNT, used the social media platform “Kik” to
communicate with a minor resulting in the request for and production of sexually explicit
material by a minor victim, hereinafter MV1.

7. On December 17, 2018, New York State Police Trooper Brandon Hudson,
interviewed MV1 (a 15-year-old female) and her parents. MV1 reported meeting subject,
“j aso_n12,” on the mobile application “Kik” on December 3, 2018. The subject self-
identified as “Jason Lonto,” claimed he was 17-years-old, and provided a phone number
of 720-839-9801. Three days later, PUNT asked MVI for sexual pictures. MVI sent
nude images of herself and videos depicting her masturbating with different objects.
PUNT demanded additional images to include images of MVI performing sex acts with
males and females. PUNT threatened MV1 by telling her he would sell or post her
images online if she did not comply with his demands.

8. MVI1/’s parents signed consent to permit FBI investigators to take over her
Kik account. MV1’s parents also turned over her LG K8V cell phone to the FBI and
completed a written consent to seize and examine the device.

9. On December 19, 2018, the Albany FBI served a subpoena on Sprint for
customer information for the phone number 720-839-9801. Responsive information
identified the phone number as belonging to “Joshua Henry” and “Joshua Punt.” An
address in Ridgefield, Washington was listed as the current address, with an old address

located in Colorado listed as well.

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10. On February 19, 2018, the Albany FBI served a subpoena on Kik for
profile information regarding the user account “j_aso_n12.” Kik provided responsive
information that “Jason Lonto” was the name associated with the account with an email
address of Montanalier@gmail.com.

11. I know from my training and experience that Kik uses a customer’s
registered email address to send administrative and marketing messages regarding the
service itself, as well as regarding messages and content. The email address is used to
confirm registration, and to confirm that the email address owner and the Kik customer
belong to the same person.

12. |TFO Hudson engaged the Kik user "j_aso_n12" in conversation beginning
on December 20, 2018. PUNT asked for more pictures several times and sent a picture of
his penis and videos of himself masturbating.

13. On March 7, 2019, I spoke with MV1’s parents. After reviewing the case
with them briefly and explaining my role, I arranged to speak by phone with MV1 on her
return that day from school. At approximate 1:00 p.m. I spoke to MV1 by phone. Her
parents were present listening over speaker.

14. During the interview MV1 described using a feature on Kik that allows a
user to find new people to chat with. She saw a profile for "Jason Lonzo," which had a
picture of an adolescent or young adult male resting his head on a keyboard as the user’s
profile picture. On December 3, 2018, she initiated contact with him, sending a text
message indicating she'd like to chat with him. This occurred on the morning of a "snow
day" when she had a few extra hours before school.

15. MV1 said "Jason" responded about five minutes later. MV1 stated he asked
her how old she was, and she told him she was 15. "Jason" told MV1 he was about to
turn 17. She stated the photograph in his profile was consistent with a male of that age.
He conversed with her about school, and she told him her favorite class was English.

16. MV1 stated the conversations turned sexual the evening of the first day

when "Jason" asked for pictures of her body. She told him she did not send people nudes

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or "bikini shots," and he replied that was fine and that he just wanted clothed pictures of
her "with cleavage."

17. MVI stated "Jason" sent the first unclothed images, sending her a close up
picture of a penis. MV1 stated Budweiser beer cases visible in the first penis photo. MV1
eventually agreed to send images and videos of herself engaged in sexually explicit
conduct, and he sent depictions he alleged were of him in return.

18. MVI1 stated her “romantic” relationship with “Jason” escalated over several
weeks with "Jason" becoming increasingly demanding of her time, wanting to chat or call
when she was not able to due to school or home life. MVI said “Jason” became
possessive and jealous, in spite of the fact they never clearly expressed to each other they
were a couple. MV1 felt uneasy to the point she attempted to exit the relationship.

19. Following MV1’s attempt to end the relationship, "Jason" lashed out at
MV1; accusing her of lying about herself and saying she "owed him." He demanded she
create new depictions, and specifically said he wanted her to record depictions of herself
engaged in sexual acts with a male and a female. He threatened to send her depictions to
entities in her home town if she did not comply. When she did not immediately comply,
"Jason" sent screen shots of an apparent Kik group conversation where he shared her
images with those in the group, along with their reactions. MV1 responded to these
threats by creating and sending additional material depicting her engaged in sexually
explicit conduct in order to prevent him from making her depictions public.

20. “Jason” communicated with MV1 by Kik, by text message, and by voice
phone calls (using the same number for text and voice). When he would not stop
harassing her, threatening to share her depictions, and demanding additional material,
MVI finally reported “Jason” to the NY State Police on December 18, 2018. Eventually,
MVI and her parents reported the conduct to the FBI as well. Beginning December 20,
2018, the FBI utilized MV1’s phone to communicate with PUNT. MV1 did not have any
communication with PUNT after December 17, 2018.

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21. During the investigation I received MV1’s phone and a CD-ROM
containing a forensic reports of the phone’s contents from the NY State Police. The
forensic report documented numerous text messages between PUNT and MV1. PUNT
sent MV1 screen shots from his phone to demonstrate he shared her explicit depictions
with others via Kik, including depictions of vaginal penetration with an object and
masturbation. PUNT used this to threaten MV1 with additional distribution of her
depictions in order to compel her to create and send additional sexually explicit material.

22. I viewed the phone's "Timeline" and filtered for the dates December 2,
2018, to December 24, 2018. I also filtered the parties down to MV1’s and PUNT’s
phones. The resulting view showed 216 items consisting of calls, SMS messages, and
MMS messages.

23. In order to emphasize the seriousness of his threats, PUNT sent MV1
messages containing only pictures, which appeared to be screenshots from his phone.
These images were all screenshots taken of Google Maps results showing high schools in
the Albany, NY area; "jiu jitsu in albany ny," "high school in dutchess county,"
"Menands School," and similar search terms. MVI attended high school in Albany, New
York. These searches directly matched records later recovered from PUNT’s Google
account and revealed PUNT’s attempts to locate geographical information on MV1.

24. Immediately after sending MV1 the screenshots, PUNT sent the

following messages:

12/12/2018 12:54:26 PM(UTC-8)From: +17208399801
For u lieng I'm posting all ur vids and links I made to each school
and gym that has jiu jitsu and MMa training like u said u do Imfao

12/12/2018 12:54:37 PM(UTC-8) From: +17208399801
Ur fucked lil slut

12/12/2018 12:54:44 PM(UTC-8) From: +17208399801
U keep lieng and playing games

12/12/2018 12:54:47 PM(UTC-8) From: +17208399801

So guess what
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25.

12/12/2018 12:55:11 PM(UTC-8) From: +17208399801

EVERY SCHOOL AND PLAVE AND ROLLER RINK IS
GETTING UR PICS AND VIDS AND THE LINK I MADE WITH
ALLLLLL OF UR INFO PICS NUMBER ETC

12/12/2018 12:59:37 PM(UTC-8) From: +17208399801
I have 176 vids and 208 pics of ur slutty ass

12/12/2018 12:59:38 PM(UTC-8) From: +17208399801
Ur a rotten slut

12/12/2018 12:59:39 PM(UTC-8) From: +17208399801
Hahahahaha

12/12/2018 1:00:11 PM(UTC-8) From: +17208399801
Ready to have everyone in your whole area see u use toys and how
big a slut u really are

— 12/12/2018 1:00:14 PM(UTC-8) From: +17208399801

U keep lieng and fuckin up

12/12/2018 1:00:38 PM(UTC-8) From: +17208399801
Wanna see what I do with em lmao

During the back-and-forth exchange, PUNT repeatedly threatened to

disseminate MV1’s images to local schools along with screen shots of the schools.

26.

During the December 12, 2018, conversation PUNT sent MV1 two MMS

messages with attached pictures. The first attached photo appeared to be of PUNT’s Kik

interface and contained thumbnails of pictures and videos of MV1. In some images her

face was clearly visible. Some of the images contained depictions of MV1 engaged in

sexually explicit conduct, including vaginal penetration with an object and masturbation.

It appears PUNT took screen shots of his phone's gallery and had attached them into a

group chat. The group was called "D.b.t.r.a.d.e."

27.

The second message's attachment is the same as the first, but with the name

of the group scribbled out.

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28. Near the end of the conversation PUNT sent the MV1 the following,
which included a screenshot of a group conversation in Kik:

User 1: Or are you letter her know youre selling her contact
info

PUNT: She got in trouble with me

PUNT: So now she pays the price lol

User 1: [scribbled out]

User 2: Bet

PUNT: Yep

User 2: Is $600 good?

PUNT: I told her I might make a group [scribbled out]

29. | PUNT continued to threaten MV1, who responded in anger and blocked
PUNT on Kik. PUNT then demanded MV1 unblock him from Kik and followed-up with
additional threats.

30. On March 27, 2019, I obtained a search warrant for Google to provide
subscriber information and content relating to the Gmail account
“montanalier@gmail.com,” any account linked to phone number 720-839-9801, and any
account linked to devices with an IMSI (International Mobil Subscriber Identity) of
310120249253494 or an ESN (Mobile Subscriber Number) of 089353959301258771.

31. The responsive material from Google showed the account
"J80Punt@gmail.com" was linked to the 720-839-9801 phone number and the subscriber
name associated with the account was Joshua Punt.

32. The responsive Google materials also included the internet search history of
the account with the Gmail address J80Punt@gmail.com. The contents of this file are the
results of internet searches using the Chrome browser, either on a registered phone or
from a desktop Google Chrome browser when the user was logged into their Google
account. This text file documented search history between December 2, 2018, and March
27, 2019.

33. Beginning on December 4, 2018, the history records searches for

"samtalbert." This refers to Sam Albert, a public teen personality who posts videos to

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YouTube and has a significant following on several social media platforms. Photographs
of this person are the first results in any Google image search. The record also showed
PUNT viewing the specific photos, which can be accomplished on the Chrome browser
on an Android phone by long-pressing the image and selecting "open image in new tab"
or "download image."

34. I followed ten of the linked images that could be viewed from their web
page “addresses,” (also known as a URL, or Universal Resource Locators) in the search
history. I previously noted several of these images on MV1's phone. The profile picture
PUNT used on Kik is easily found by searching for "samtalberttkeyboard+sleep." This
information is consistent with PUNT searching out and using these images in order to
represent himself to MV1 as an age-appropriate attractive male.

35. Beginning December 11, 2018, PUNT began searching the term
"[REDACTED]," which is MV1’s phone number. Thereafter, he visited sites like
"callername.com," "instantcheckmate.com," and "usaphonesbook.com," among others.
He visited at least nine sites that purport to offer information about who owns phone
numbers. All of these sites are for-profit and require registration and payment of a fee in
order to access useful information. It does not appear he joined any of these sites, but was
looking for free information.

36. After visiting several of these phone search sites, he began to search terms
based on geography. For example, he searched "high+school+in+northt+[REDACTED]
+ny" and "roller+skating+rink+[REDACTED] +ny," and
"high+school+in+[REDACTED] +county+ [REDACTED] +ny," among others. Based on
MVI1's SMS messages recovered from her phone, it appears these searches were
prompted by photos she had sent him, information she had likely told him, and the results
of his phone number searches (one search site, "callername.com," produced a Caller ID
result to [REDACTED], NY). PUNT continued to search for information on possible
schools and other locations, as well as MVI's phone number, up through December 15,
2018.

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37. Sprint provided account and activity history in response to my search
warrant which showed PUNT was assigned the 720-839-9801 phone number.

38. During his communication with MV1, PUNT sent one image that appeared
to be of his own head and face in poor lighting. He appeared to be wearing the same
orange Denver Broncos knit hat he wore in a photo on his public Facebook page. The
picture was consistent with his general appearance evident through seeing multiple
pictures of him on Facebook spanning several years.

39. On April 8, 2019, I accessed MV1’s voicemail account with the consent of
her father. I dialed the phone number [REDACTED] and pressed "#" to enter the user's
voicemail. I used the password provided by MV1’s father. I played the saved voicemail
messages in sequence over the speaker of my desk phone and recorded them in one series
using my department issued iPhone.

40. The first message was left on December 10, 2018, at 9:05 pm (local time in
New York), and the last one was left on December 23, 2018, at 10:59 am. In the first
message, PUNT said:

It's a not a good idea to block me but if you wanna block me, go
ahead. Guarantee you'll see all your pictures and videos all over
North-whatever place you're from in Albany and all those little such
schools. Oh yeah. I already got all those schools down. So unblock
me and call me. Bye. I actually loved you but you wanna be a slut?
Go ahead. I don't care.

41. On December 12, 2018, PUNT left MV1 five voicemail messages,
including the following at 10:17 am:

Everybody loves the picture with the cum on your lips and tongue.
Guess I'll just keep sellin’ ‘em.

42. On December 13, 2018 PUNT, left two voicemail messages on
MVI's phone. At 3:19 pm PUNT left the following message:

Yeah, you need to stop blocking my phone number and read your
messages. I'm tired of warning you. I'm tired of you lyin’ and
playin’ your games and doin' your sneaky stuff. So if you don't do

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what you said you're gonna do, then guess what? The deal's off and
everything goes back.
43. According to MV1’s statements and text messages from her phone, PUNT
was demanding she send videos of herself performing sexually explicit acts, including
acts with others. The "deal" appears to reference her agreeing to send these depictions

due to threats.

44. On December 14, 2018, PUNT left MV1 five voicemail messages including

one at 0340 in which he claimed that "everything" had been posted online. He told her he
would take the material down if she unblocked his phone and unblocked him on Kik. He
indicated he knew where she went to school, and threated to post material involving her
sister and her friend unless she complied:

Good morning. You have a lot to do this morning and today.

Message me right away. Just so you know, everything is posted and

every link is out there. So if you want everything erased and taken

down, you need to message me and unblock me on here and on Kik.

I already found your school 'cause you sent me the picture with your

friend which has the school logo on the shirt like a dumbass. So

guess what? Your sister's picture and your friend and yours are all

gonna get posted if you don't message me right away.

45. The final message found on MV1's voicemail was left on December 23,

2018, at 10:59 am. In this messages PUNT threatened MV1 again, saying he would post
more depictions of her because she was ignoring him and being "rude":

I was gonna be nice and believe some of your stuff and take down
some of your posts but if you're just gonna ignore me and be rude, I
guess I'll just post some more. Message me on Kik or call me.

46. | When law enforcement arrested PUNT and searched his residence later in
the investigation, I played one of the saved voicemails for PUNT’s mother. PUNT’s
mother identified the voice in the recordings as Punt’s voice.

47. As the investigation progressed I received MV1’s father’s consent to

conduct my own forensic analysis of MV1’s phone.

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On May 8, 2019, I reviewed the phone, video, and text messaging records of PUNT while
incarcerated at the Clark County Jail during a period from 2013 to 2014. He was in
regular communication with his mother.K.G.. The phone system uses a pre-recorded
message to prefix outgoing calls from inmates. Inmates must state their name, which is
recorded. Additionally, if an inmate has a complaint or issue to report with the system,
they can leave a voice message to customer service. I reviewed a number of phone calls
between PUNT and his mother, K.G.. His voice was generally high in timber, smooth,
and pleasant when speaking to her. When leaving recording of his name or leaving a
complaint for Telmate, the company that manages jail phone calling, his voice was
deeper with a gravelly character.

48. Upon comparing these samples to the voicemail messages left for MV1, I
believe any reasonable person would conclude they were made by the same voice.

49. On May 21, 2019, I obtained a search warrant for the body of JOSHUA
HENRY PUNT and his residence at 1813 NE 191st Circle in unincorporated Ridgefield,
Washington.

50. Members of the Southwest Washington Regional SWAT team contacted
and detained PUNT during a traffic stop. At the time of this contact he possessed a
Samsung Galaxy J7 in his pocket, which was found to have a MicroSD card inserted.

51. | Linterviewed PUNT the same day at the Vancouver Police West Precinct,
accompanied by VPD Detective and HSI TFO Robert Givens. PUNT gave consent for
the interview to be recorded and was advised of his Miranda warnings. PUNT stated he
understood his rights and agreed to answer questions.

52. When I informed him of the nature of the investigation PUNT asked "Is
something wrong with my daughter?" He expressed relief when told this did not involve
his daughter. When I was explaining the investigation to him, PUNT asked, "What is a
Kik?" He initially claimed to not know anything about this application. He asked if it was
"Like Snapchat?" When asked for clarification about Kik, he said he used Kik "a long

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time ago," and doesn't use it because his family and friends are not on there and people he
doesn't know would "blow up his phone for no reason."

53. When explaining what kind of application he used on his phone he said, "I
have Facebook Messenger, and what is it... the Gmail."

54. PUNT stated his phone service provider is Boost Mobile, with a phone
number of 720-839-9801. PUNT stated he has had that phone number for approximately
two years. PUNT’s phone is a refurbished Samsung that he purchased approximately a
year and a half prior. He stated the phone we took from him at the time of arrest was his
only phone. PUNT stated his phone is with him in his pocket during the day. He declined
to provide his PIN.

55. PUNT denied involvement in the allegations associated with MV1. He also
denied having a Samsung Note 3 phone (later found in the residence and attributed to him
by his motherK.G.), saying he wished he had one, and that "those cost money." When
asked about his Gmail accounts, PUNT said his account was "j80punt?" He denied
having the "montanalier" Gmail account.

56. - When confronted with information that law enforcement had located the
videos and pictures associated with Kik on his phone, PUNT denied having any Kik
account. When asked about his bedroom, PUNT said he stayed on the couch (this is
where a Samsung Note 3 was found). When shown a picture of bathroom floor seen in a
video from a Kik video sent to MV1’s Kik, PUNT expressed doubt it was his bathroom
claiming his tile was darker, a different color, and a different pattern.

57.  DFI Prothero later conducted a forensic analysis of the memory card found
in PUNT’s phone and determined it contained a substantial amount of video and
photographic depictions of minors engaged in sexually explicit conduct in a directory
named “fun.” The subjects of these depictions appeared to be mainly high school age
females. Many of the depictions were video recordings PUNT made as he displayed chat

conversations and depictions from a second phone.

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58. | While PUNT was waiting in a holding area prior to booking, DFI Prothero
located images of MV1 on this memory card. I printed out a clear, color photo of MV1’s
face and re-contacted PUNT. He again gave permission to record the interview. When I
confronted him about the SD card with the folder "fun" and advised him I had found
pictures of MV1, PUNT denied recognizing MV1, and denied having any part of the
allegations. PUNT acted confused and concerned, and asked if the photo was a friend of
his daughter. PUNT said these things should not be on his phone, and that he didn't have
anything to do with it. He denied the material was on his phone. When confronted and
told he was lying, he said he was "not really" (lying), and he insisted he would never do
this kind of activity.

59. | PUNT was transported to the Clark County Jail and booked on state
charges.

60. On May 21, 2019, at approximately 5:30 p.m. I contacted K.G. at the
residence she shared with PUNT. I sat down with K.G. on the back porch as others
conducted a search of PUNT’s bedroom and common areas. I provided K.G. with a copy
of the search warrant and explained it to her.

61. | K.G. was saddened to hear the news of this investigation, but was not
surprised. She stated PUNT had behavioral problems from an early age, and she has
worried that he would end up committing sex crimes or hurting someone. She stated she
tried to convince social workers, judges, and school districts that he was a potential
danger and needed help. She stated he suffers from brain seizures and PTSD, and has
problems controlling his impulses.

62. K.G. stated PUNT is very possessive and secretive about his phone. She
has never known his PIN and doubts he has or ever would share it. K.G. stated PUNT

does not allow others to hold his phone even if he is showing them something.

63. | When I described PUNT’s behavior towards the victim(s) in this case, K.G.
stated it seemed very much like the way he has treated her. K.G. said PUNT enjoys
playing mind games, blames her for things, and speaks horribly to her.

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64. Upon entering PUNT’s residence I observed a Samsung Galaxy Note cell
phone on the couch in the living room, connected to a charging cable. When I asked K.G.
who owned the phone she stated it belonged to PUNT.

65. lasked K.G. if PUNT stayed in the living room on the couch (which is
what he told me in his interview). She stated he has his own room and directed law
enforcement to it.

66. I played K.G. portions of the audio recording recovered from MV1’s
voicemail account. K.G. identified the male voice in the voicemails as definitely
belonging to PUNT.

67. Incident to the May 25, 2019, warrant DFI Prothero conducted a forensic
analysis of the aforementioned memory card and found it contained numerous video and
photographs depicting scores of minors engaged in sexually explicit conduct in the
previously mentioned directory named “fun.” The subjects of these depictions appeared
to be mainly high school age females. Many of the depictions were video recordings
PUNT made as he displayed chat conversations and depictions from a second phone.
PUNT would scroll through his Kik and Snapchat apps, opening conversations, and
playing content while recording with a phone in his other hand. DFI Prothero organized
victims with possible identifiers into folders for me with representative depictions. DFI
Prothero also provided a complete forensic report of the card, which allowed me to
search the entire contents.

68. Ultimately I identified 580 combined videos and still photographs of MV1,
the overwhelming majority of which were sexual in nature. Hundreds of these files
depicted sexually explicit conduct.

MV2 - ARKANSAS

69. During my review of the materials from PUNT’s memory card, I identified
another victim, 16 year-old MV2, based on her Kik communications with PUNT. When
I saw a video showing MV2’s face, I estimated MV2 was between the ages of 13 and 16

based on her physical appearance. I observed a video recording PUNT made as he

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displayed chat conversations with MV2. One such video depicted MV2 penetrating her
vagina with the handle of a hair brush. At least six other videos and two still photos
depicted MV2 engaging in masturbation over her clothing with her fingers. I observed a
chat between PUNT and MV2 in which he encouraged her to insert a brush handle into
her vagina, and telling her to imagine it was his penis. He told her to move it faster and
deeper and to show him.

70. I searched Instagram and Facebook, ultimately finding a matching profile
that indicated the MV’2s home and likely school located in Benton, Arkansas. Once I
determined where MV2 lived, I contacted Arkansas’ ICAC Task Force for assistance.

71. Detective Benham of the Benton, Arkansas Police Department responded to
my request and provided me with a copy of a police report from his jurisdiction
indicating PUNT had already been identified as the suspect in a case involving MV2.

72. Benton Police Department reports positively identified MV2, who had
consented to a search of her phone. Per MV2’s statement, she first came into contact with
a person identifying himself as “Jason” (identified as PUNT) on or about March 11,
2019, when he called her from the number 720-839-9801. This phone number is the same
one PUNT used to communicate with MV1. MV2 and PUNT exchanged hundreds of text
messages until about March 17, 2019. MV2 communicated further with PUNT via
Snapchat using the user name “jasballer.” MV2 stated PUNT pressured her to send
nudes, and she complied by sending photos of her breasts.

73. Detective Benham provided me with copies of search warrants for PUNT’s
Snapchat account (“jasballer”) and for the Sprint phone number belonging to PUNT
(720-839-9801). I reviewed the forensic phone analysis from MV2’s phone and read
hundreds of SMS and MMS messages between PUNT and MV2. I observed the same
pattern of manipulation with MV2 as PUNT used with MV1. From PUNT’s
communications with MV2, he tried to manipulate her with guilt and threats to continue
to be his "girlfriend," and to make him happy again by going to Snapchat and sending

him sexually explicit videos. In a long cell phone text message (SMS) exchange, MV2

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attempted to break off the relationship because of how he was treating her, but retreated
once he began to threaten her with exposing her. The conversation included this

exchange:

From: +17208399801 Jason3
3/15/2019

3/15/2019 3:43:28 PM(UTC+0)
Get ready to see stuff on [HIGH SCHOOL REDACTED] page...

To: +17208399801 Jason
3/15/2019

3/15/2019 3:43:38 PM(UTC+0)
Dude, STOP

From: +17208399801 Jason
3/15/2019

3/15/2019 3:43:38 PM(UTC+0)
I'll show u what a asshole is!!!

74. MV2 attended [HIGH SCHOOL REDACTED]. In a conversation the

following day, PUNT demanded that MV2 to "wake me up" and to "play" with him,
referencing previous sexually explicit activity. After she has repeatedly begged to be left

alone, MV 2 says,

Babe, do you even know how much of my life will be ruined if I don’t do
what you ask? As of right now, I have my choice of colleges, a mascot
position, and a position on two sports teams. Anything bad? I lose all of
that. I love you, I really do, but right now, that’s the only thing keeping me
with you, is that threat. So please, just give me time to myself. Because I
cant deal with the stress of that threat. Please. I just need a break from
literally everything.

75. Punt responds by saying “U have it. And shave ur pussy today 4 me.”

76. During my review of Det Phippen's forensic report of MV2’s phone I found

several images of Sam Hudson, a popular teen YouTube star, which PUNT has

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repeatedly used as portrayals of his own likeness. Some of these images matched the
images PUNT had previously downloaded.
MV3 - CALIFORNIA

77. | While reviewing DFI Prothero’s forensic report of the aforementioned

microSD card seized from PUNT’s Samsung J7, I identified a third victim, MV3, who
was 15-years-old when she communicated with PUNT. MV3’s user name was displayed
in a video PUNT made as he thumbed through a Kik conversation with MV3. PUNT
wrote to MV3, “Them perfect tits as I lick down ur biddy [sic] Show daddy more... put
my dick between ur tits mmm.”

78. | MV3 sent PUNT clothed photos, and he responded again with “Yesss U
make me hard as fuck instantly,” and “Mmmm baaaby U makin daddy hard Can I stroke
for u baby?” PUNT then asked MV3 if she wanted to watch him “cum” for her, and she
replied, “Sure.”

79. He responded with, “Send me some full pics,” which in the context meant
fully unclothed photographs.

80. I located two Instagram profiles which appeared to belong to MV3, and
which had evidence of her school and a residence in Bakersfield, California.

81. On May 23, 2019, I spoke with Sgt. Sean Morphis of the Bakersfield Police
Department to request assistance with identifying and contacting MV3. He directed me
to Detective Glen Phippen.

82. Detective Phippen, was able to confirm that MV3 was the owner of the
Instagram profiles I located. Detective Phippen arranged to interview MV3 and requested
consent to examine her mobile device(s).

83. On or about May 28, 2019, Detective Phippen advised me he had
interviewed MV3, and she gave a statement indicating a "Jason" had contacted her and
attempted to get her to send “nudes.” She communicated with him briefly, but did not

send him any sexually explicit material. MV3 consented to a search of her phone, and

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assisted investigators in finding chats with PUNT and taking screen shots of them before
turning over the phone for a consent examination.

84. After my initial contact with Detective Phippen, DFI Prothero examined
two Android devices found in PUNT’s residence; a Samsung Galaxy Note 3 and a
Samsung Galaxy Prevail.

85. | PUNT’s devices contained several short videos of him masturbating in his
residence. These appear to be related to chat activity, as he frequently asked teen victims
if they wanted him to masturbate, after which he would send videos. He sent such videos
to MV1’s account after the phone and account of MV1 had been taken by the FBI. On
these videos his penis was usually erect. He spoke with a quiet, low voice. Frequently the
sound of a running faucet or shower would mask his sound. He spoke in the third person,
calling himself "daddy." He asked his targets to show him how badly they wanted him to
"cum." He usually used the term "baby" when addressing his target. He always described
wanting to see the target masturbating with a hair brush handle so he could imagine it
was him having sex with her. While masturbating he frequently talked about his target's
"pussy," and how small or wet it was. He created a series of several masturbation videos
in the same setting, apparently in the same chat. In a few of these videos, PUNT
ejaculated. Having previously heard PUNT’s voice in voicemail messages and in person,
I believe the voice speaking in these videos belongs to PUNT. Additionally, the bathroom
floor noted in some of the videos is the same floor as in his residence as documented
during the search warrant execution in PUNT’s residence.

86. On July 8, 2019, I opened a FedEx envelope sent by Detective Phippen of
the Bakersfield Police Department. This parcel contained copies of the Bakersfield Police
report, consent to search forms, and a Blue-Ray disc containing the Cellebrite extraction
from MV3’s iPhone.

87. According Detective Phippen's report, MV3 assisted by taking screenshots

of the Kik conversations between her and PUNT (these conversations could not be parsed

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by forensic software, so photos are the best means of preservation). The report also stated
MV3 told PUNT she was 15 years-old.

88. | Upon viewing the conversations from MV3’s phone, I found two
exchanges that matched the conversation screen shots from PUNT’s phone, and found the
style and content to be consistent between both devices. MV3 had retained messages
where PUNT offered to send her money via the CashApp application if she sent him
videos of her performing sexually explicit acts with herself. In one message he sent her,
PUNT wrote:

Please

U can let daddy make u feel good and cum
for me

I wanna make u squirt

Mmmm I'd love to baby

Show me some

I wanna cum in ur mouth mmm

Do a cute vid baby

Lemme see that lil pussy mmmm

Be a good girl for daddy

Lemme lick down ur chest over ur nipple as
I slide my dick inside u

Then let daddy play

U wanna see baby

89. I noted a photo of an adult penis on MV3’s phone, which appeared to be the
same penis depicted in PUNT’s masturbation videos.

90. The earliest creation date I was able to identify for screen shots PUNT
created of his chats with MV3 was April 17, 2019. Date stamps in the chat ended on May
18, 2019, three days prior to PUNT’s arrest.

MV4— WEST VIRGINIA

91. While reviewing DFI Prothero’s forensic report for the aforementioned
microSD card seized from PUNT’s Samsung J7, I identified a fourth victim, MV4, who
was 12-years-old when PUNT communicated with her. MV4’s Snapchat display name

consisted of her real first, last, and middle names. PUNT also communicated with MV4

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via SMS text messaging using his Sprint phone. In one screen shot stored on PUNT’s SD
card, a photo of MV4’s torso (wearing a distinctive Harry Potter shirt seen in other
photos with her face) was attached in an SMS message.

92. MvV4’s phone number of [REDACTED] was displayed at the top of the text
messaging screen shot. This area code belongs to West Virginia. I checked this number
against PUNT’s previously obtained Sprint phone records and found he had sent 645 text
messages and had made nine phone calls to MV4 between November 15, 2018 and
December 14, 2018.

93. also observed four screen shots of PUNT’s phone gallery, displaying the
contents of a folder called “FUN,” which contained thumbnail photos of MV4 undressed
or engaging in sexually explicit conduct. I identified 200 photos in which MV4 was the
subject, approximately 65 of which were depictions of MV4 undressed or engaged in
sexually explicit conduct. MV4 was the subject of 94 videos saved on the same SD card.
Over 60 of these videos depicted MV4 unclothed or engaging in sexually explicit
conduct. Of these videos, approximately 24 depicted MV4 engaged in masturbation or
inserting an object into her vagina. The titles of files located contained coded dates
indicating the earliest content was likely created on or about November 6, 2018.

94. As previously mentioned, numerous videos found on PUNT’s SD card
were the result of PUNT recording Snapchat content on one phone with a second device.
The resulting videos contained content of chat text and attached pictures and videos. In
these videos one can observe a thumb scrolling through chats and selecting items to play.
DFI Prothero created screen shots of the text content of these videos, at least 22 of which
contained chats with MV4. In one of these conversations PUNT encouraged MV4 to
record video as she inserts a hair brush into her vagina for his sexual arousal. He wrote:

I wanna see you do it and please u baby
It’ll feel good baby, I promise you k
It’s smaller then u r fingers

Push it in baby
Get it wet
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95. MvV4 sent a video depicting her attempting to insert a hair brush into her
vagina. She winced in pain, and replied, “It hurtsssss.”

96. PUNT told MV4 to perform this act repeatedly and to send him multiple
videos, instructing MV4 to do it “fast and DEEP” and to do so with her leg up on the
counter. He told her to show him video of her tasting her “cum.” MV4 sent him several
videos depiction her masturbating with a hair brush, including one in which she licked
the handle of a hair brush after inserting in her vagina. Again, PUNT recorded a video of
this video playing on another device under the name “20181114_114841.mp4.” In these
videos PUNT’s thumb can be seen opening the content from the chat buffer. Based on
Snapchat’s behavior, he played these videos to record them on the same date MV4 sent
them. The content was listed as a “new Snap,” and showed how many hours since it was
received. Based on this context, MV4 most likely responded to PUNT’s demands for
these depictions on November 14, 2018.

97. I located an Instagram profile with MV4’s name, and found the photos
contained therein matched the face of MV4. I also found references to her mother and
father. Using public records I was able to determine a likely residence in Daniels, West
Virginia. I requested assistance from the WV ICAC in contacting MV4 and her family.
Senior Trooper Jillian Yeager of the WV State Police responded.

98. On October 2, 2019, Trooper Yeager made contact with MV4 and
confirmed her name and age. With a birthdate in August of 2006, MV4 was 12 years-old
at the time PUNT communicated with her. Trooper Yeager conducted an interview with
MV4.

99. Trooper Yeager conducted a recorded interview with MV4, which I played
back. MV4 stated PUNT first approached her on Snapchat by telling her he was in eighth
grade and attended her school. MV4 was in seventh grade. MV4 believed the period in
question was from October to November of 2018. MV4 said PUNT quickly began to ask

for pictures of her, specifically of her breasts.

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100. MV4 said she was age 12 at the time and that she told PUNT she was 12.
PUNT told her he was 14.

101. MV4 stated the exchanges started off positive with “Jason” (PUNT)
treating her kindly and making her feel good. They communicated by Snapchat and
phone text messages (SMS). PUNT quickly became invasive and demanding. When
MV4 attempted to get out of the relationship, PUNT responded with threats. MV4 was
not specific, but stated he threatened to share her pictures and videos with others. MV4
stated she found out PUNT also approached her friend via Snapchat. PUNT threatened to
send MV4’s depictions to this friend. MV4 was also worried that PUNT might actually
go to her school, and she felt like he could be physically violent.

102. MV4 stated she has a school acquaintance named CW1 MV4 heard PUNT
had contacted this girl and had asked her if she knew MV4. MV4 said she did not know if
PUNT had shared her depictions with CW1.

103. I located a chat between PUNT and CW1 in the Snapchat archive spanning
from November 1, 2018 to January 30. 2019. PUNT periodically harassed CW1 during
this time after she repeatedly refused his demands to “play” with him. He disparaged her
and other girls he named at the school, saying, “Jus like [MV4] L.[] and M.[] and T.]..and
every girl there.” On November 12, 2018, at 5:18 a.m. (UTC) PUNT sent CW1 a video of
MV4 . Her face and injured hand (wrapped in a brace) were visible. MV4 licked her
fingers and rubbed her unclothed breasts. On the same date at 1:36 PM (UTC) PUNT sent
CW1 a second video of MV4 masturbating with the same hand wrapped in a brace.
PUNT also sent CW1 three still images of MV4 posing topless in a mirror.

104. MV4 ultimately blocked PUNT on Snapchat and her phone.

105. On October 25, 2019, Snapchat produced records in response to a signed,
valid search warrant authorized on September 26, 2019, in the Washington State Superior
Court in and for Clark County. This warrant required the entire archive for the Snapchat

account “jasballer” from the date of creation (February 21, 2018) until present.

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106. The record included 5,624 media items, including pictures, videos, and
audio files. It also included a spreadsheet archiving all chats saved by the user covering
the period September 26, 2018 to Sept 15, 2019. PUNT had conversations with over 800
other users, the vast majority of which were apparently female, minors, and strangers to
him. With the exception of several relatives and friends, the account was used exclusively
for activities consistent with the conduct described in his affidavit.

107. In this chat archive I saw primarily two types of approaches PUNT used
with new contacts. In some contacts PUNT claimed to be a contemporary or of an
appropriate age to the minor female. PUNT asked their age and responded with a similar
or slightly older age. PUNT was undeterred when a prospective victim would tell him she
was 12.

108. PUNT quickly moved the topic to sexual activities, history, and interests,
and frequently began spontaneous sex chatting, describing acts of foreplay and
intercourse to the child. PUNT also asked for photos, including unclothed, asking them to
help him “cum.”

109. The second approach consisted of PUNT reviewing pictures in the
prospective victim’s public “story,” which would contain pictures and videos. PUNT then
started the conversation by telling the child someone was exposing her images and
conversations (“convos”) in a group chat he was party to. He became impatient and angry
if the child responded with confusion or disbelief. PUNT then pressured the child into
sending him nude or sexual depictions of them in exchange for PUNT getting the images
taken down from the chat. PUNT referred to the children as “slut, “hoe,” and “thot”
(slang meaning “that hoe over there”) and tell her that since she had already made this
kind of material, taking pictures or video for him should be easy.

110. These approaches were most frequently refused, but he made hundreds of
such attempts.

111. There was no record of “Snaps,” which are messages set to disappear after

a fixed time, usually a few seconds.

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112. I located a conversation between PUNT and MV4 starting on November 6,
2018, and ending February 8, 2019. It appears instances in this record with messages
from MV4 only include November 6 and 7, 2018. MV4’s messages to PUNT had no
text, but included only clothed images of her. On November 7, 2018 PUNT sent a
message to MV4 containing “7208399801,” which was PUNT’s phone number. There
were no introductory exchanges, indicating they had already been communicating. PUNT
demonstrated the same behaviors as with previous victims in messages he sent on
January 22, 2019:

Guess what's happening

If u don't answer me.

I repost ALL vids and pics

U lied big time

113. In PUNT’s Snapchat archive I also located 33 images and videos pertaining
to MV4. I found three photos of MV4 in which she appeared posing topless. These
images were visually identical to those found on PUNT’s microSD card.

MV5 — TEXAS

114. While reviewing DFI Prothero’s forensic report for the aforementioned
microSD card seized from PUNT’s Samsung J7, I identified a fifth victim, MV5, who
was 14-years-old when PUNT communicated with her via Snapchat, Kik, and SMS text
message using his Spring phone. The material pertinent to this victim came to my
immediate attention due to the nature of PUNT’s treatment of her. Early in my analysis of
her material I found videos of MV5 slapping and punching herself in the face while
crying and apologizing.

115. PUNT’s microSD card included approximately 169 photos and 115 videos
pertaining to MV5. The videos included at least 33 depictions of MV5 masturbating by
inserting objects in her vagina. Several videos depict MVS stuffing an item of clothing
into her vagina and removing it again. The still photos include at least 15 depictions of
MVS inserting items in her vagina, including hair brushes, clothing, makeup bottles, and

a cheese grater handle.

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116. The still photos include approximately 110 screenshots of Kik video chats
between PUNT and MV5. PUNT’s face is visible and recognizable in the upper right
corner of the chat window in at least 50 of these photos. In most of these screenshots
MVS is depicted topless, engaged in some kind a sexual act involving a foreign object, or
putting one of these foreign objects in her mouth.

117. The most significant depictions located on PUNT’s microSD card were
created on or about January 3, 2019. These videos were created by MV5 and depict her in
self-harming behaviors that PUNT appeared to have demanded.

118. In one video MV5 is seen holding her throat in a choke hold. Her eyes
would open wide and she coughed apparently in response to her airway closing.

119. Ina two additional videos MV5 is depicted slapping herself once in the
face.

120. In the fourth video MVS is depicted crying and mumbling, “Sorry daddy;
please don’t,” before slapping herself several times in the face followed by punching
herself with apparent force in her mouth three times.

121. PUNT saved a phone screenshot of an SMS exchange showing he had
saved MV5S as a contact under the name [REDACTED]. At the top of this window one of
the first three videos was attached. PUNT responded with:

I said hard!!!

Tell daddy ur sorry and smack ur face hard as fuck over and over

A LONG VIDEO U FUCKIN DUMB BITCH

LISTEN NOW .... OR COACH GETS EVERYTHING

122. This screenshot had a file name indicating it had been created on January 3,
2019, the same date the videos were apparently created.

123. Ina Kik screenshot with a title indicating a creation date of December 29,
2018, two videos of MV5 are seen attached. She is seen holding a toothbrush case near
her face, an object also seen inserted into her vagina. At the top of the conversation are
the names indicating this was a group chat. The name “boo” and a partial name
“Mehme...” is visible. PUNT typed the instruction, “Do a vid call now. Get us off.”

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124. PUNT communicated with friends of MV5 and used these communications
to add to MV5’s fear he would expose her sexually explicit images to others. I found two
screen shots of SMS conversations with the phone number [REDACTED]. In the first
message on December 29, 2018 PUNT wrote:

Hey what’s up

Ur friends friend

She said hit you up

U goin to her house tomorrow?

Noal or whatever it is

Angle or whatever

125. During my investigation I determined MV5 used the screen name
[REDACTED] while using Kik. She used a Snapchat user name containing her actual
first and last names. I made this connection when PUNT sent a text message to a third
party (later identified as a friend of MV5) and referred to MV5 by her real first name and
[REDACTED].

126. On October 3, 2019, Detective Shannon Taylor of the Katy Independent
School District Police Department (in Katy, Texas) made contact with MV5 and her
mother. Detective Taylor interviewed MVS.

127. Detective Taylor showed MV5 a picture of her in a chat with PUNT, and
she identified this person’s face as “Jason.” MV5 said “Jason” told her originally that he
was 17 years of age. MVS stated she told PUNT she was age 15, but later told him she
was age 14. MV5 told him what school she attended.

128. On October 7, 2019, I had a phone interview with MVS, who called me
with the assistance of her mother. MV5 was clearly traumatized by PUNT’s conduct. She
was emotional and reluctant to talk. MV5 stated she was afraid to leave the house
because she had given PUNT her address. She was afraid PUNT would come for her and
take her away because he made threats to do so.

129. MV5 said the relationship with PUNT started positively, but he quickly

became invasive and possessive, accusing her of cheating on him. MV5 stated PUNT

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forced her to send him explicit videos and that she feared what he would do if she did not
comply. MV5 said PUNT eventually showed her his real face, but by then he was already
threatening her.

130. MVS stated that on several occasions PUNT forced her to join a group Kik
chat and to perform on video chat for people PUNT had invited. This is supported by the
screenshot of the group Kik chat previously described.

131. According to her mother, MV5’s cell phone number was [REDACTED].
Referring to PUNT’s Sprint records, I found he sent MV5 2,804 text messages and 115
voice calls between the dates of December 26, 2018 and January 15, 2019. MV5 did not
send PUNT any text messages or calls in that record.

132. Upon searching PUNT’s Snapchat records I found communications
between them from December 31, 2018 to January 1, 2019, which did not appear to
include their entire history on that medium. PUNT told MVS the following:

Wyd

U like all ur vids and pics and info out there

Good slut. Let everybody use u

It's all ur good for

Ur family gets to see next. Only u can stop it Lmao
U happy

U made it happen and I warned u

Puttin u on my snap story next

133. During an ensuing argument, PUNT and MVS had the following exchange
relating to him coming to get her, and she appears to be trying to call his bluff:

PUNT: Ur home now idiot

MVS: I have tryouts gtg

PUNT: Stop fuckin lien

MV5:Ok come see me and make me do shit uk know mt [my]

PUNT: Or I do some fun ked up shit

PUNT: Do a snap

MV5:My address

MV5:IIl meet u inhouston come see me

PUNT: If I drive down there your leavin with me

PUNT: And ur gonna make some money instead of do shit with every guy for free

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PUNT: Might as well get paid for it
MVS:OKk ill leave with u come pick me up

134. Based on the foregoing, PUNT used intimidation and fear, as well as threats
to expose MV5 to humiliation by distributing depictions of her as a means to force her to
produce child pornography. PUNT also forced MV5 to engage in live sex acts over the

internet.

CONCLUSION
135. Based upon the evidence gathered in this investigation as set out above,
including but not limited to my review of data and records, information received from
other law enforcement agents, and my training and experience, there is probable cause to

believe JOSHUA HENRY PUNT committed the offenses charged in this Complaint.

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hartment of Homeland Security
Homeland Security Investigations

| Based on the Complaint and Affidavit presented by reliable electronic means and
sworn to me, the Court hereby finds that there is probable cause to believe the

Defendant(s) committed the offenses set forth in the Complaint.

Dated this 6" day of November, 2019.

THE HON. DAVID CHRISTEL
United States Magistrate Judge

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